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                                  STATEMENT OF FACTS

        Your affiant,                         , is a Special Agent with the Federal Bureau of
Investigation (“FBI”). As a special agent with the FBI, I am tasked with investigating federal
crimes connected to the state of Arkansas. As part of my duties, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent with
the FBI, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or are based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

                  Background: Events at the U.S. Capitol on January 6, 2021

        The United States Capitol (hereinafter, “the Capitol”) is secured 24 hours a day by the
United States Capitol Police (hereinafter, “USCP”). Restrictions around the Capitol include
permanent and temporary security barriers and posts manned by USCP officers. Only authorized
people with appropriate identification are allowed access inside the Capitol. On January 6, 2021,
the exterior plaza of the Capitol was also closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the Capitol
building, and USCP officers were present and attempting to keep the crowd away from the Capitol
building, as the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. USCP officers, assisted by officers from
the Washington, D.C., Metropolitan Police Department (hereinafter, “MPD”) attempted to
maintain order and keep the crowd from entering the Capitol; however, around 2:00 p.m.,
individuals in the crowd forced entry into the Capitol, including breaking windows and assaulting
members of the Capitol Police, as others in the crowd encouraged and assisted those acts.




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        Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the Capitol from the time he was evacuated from the Senate Chamber
until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the Capitol building
without authority to be there.

                              Facts Specific to Nathan Earl Hughes

         Starting at approximately 1:00 p.m. on January 6, 2021, a crowd began amassing on the
West Front of the Capitol. For approximately one hour, USCP officers and MPD officers attempted
to prevent members of the crowd from advancing beyond the police barricade line at the West
Plaza. The crowd on the West Front became increasingly hostile towards the police officers who
were attempting to hold the crowd back. At 2:28 p.m., after a series of assaults on police officers,
the crowd overwhelmed the police line and the officers protecting it. Between 2:28 p.m. and 2:42
p.m., USCP and MPD officers retreated up the West Front of the Capitol from the West Plaza to
the Lower West Terrace and, at 2:41 p.m., into the Lower West Tunnel. Through their retreat, the
officers were pursued by the mob, with some members of the mob assaulting officers as they made
their retreat.

        Inside of the tunnel, police officers secured an exterior set of glass doors against the rioters
who followed them into the mouth of the tunnel. At 2:42 p.m., the rioters broke through the glass
doors and directly engaged with the police officers in the tunnel in an effort to gain further passage
into the Capitol. For more than two hours in the tunnel, rioters engaged in synchronized pushing
and shoving against police officers, such that the officers had to withstand the force of the group
pushing against them, while also enduring individual assaults. Based upon review of public video,
closed circuit video (hereinafter, “CCV”) footage, police body worn camera footage, and open-
source video footage depicting the events at the Capitol building and grounds and inside of the
Lower West Tunnel on January 6, 2021, law enforcement identified NATHAN EARL HUGHES
(hereinafter, “HUGHES”) as an individual who pushed against police and aided other rioters in
fighting against police officers near in the Lower West Tunnel. There is probable cause to believe
that on January 6, 2021, HUGHES committed violations of 18 U.S.C. §§ 231(a)(3) (civil disorder)
and 1752(a)(1) and (2) (unlawful entry on restricted buildings or grounds) and 40 U.S.C. §§
5104(e)(2)(E) (impeding passage through Capitol grounds).

                          Hughes’ Activities in the Lower West Tunnel

        Video footage obtained from law enforcement depicting the events at the Capitol on
January 6, 2021, show a white male who was present in the vicinity of the LWT tunnel for at least
one hour and who, at various points, pushed against the police and helped other rioters physically
fight police in an attempt to breach the U.S. Capitol building.


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in the Capitol on January 6, 2021. The tipster reported that HUGHES was seen in Washington,
D.C., wearing a gray hooded sweatshirt during the events at the Capitol. On January 18 and 19,
2021, the FBI received a second tip that HUGHES was present at the Capitol on January 6, 2021.
The second tipster stated that HUGHES was present in Washington from January 4 thorugh
January 6, 2021. This second tipster provided links to HUGHES’ social media, including his
Twitter handle, @RallyNate. On January 28, 2021, an FBI special agent contacted HUGHES via
telephone to ask him about his alleged participation in the Capitol Riot. HUGHES confirmed that
he was present in Washington, D.C., on January 6 and attended the former president’s rally, but
claimed that he never went inside the Capitol.
        In August 2021, open source research identified HUGHES’ Twitter profile and found posts
indicating that he was present in Washington, D.C., on January 6, 2021. See Figures 15a & 15b.
These tweets alluded to the violence that took place at the Capitol on January 6, 2021.




                   Figure 15a.                                 Figure 15b.


Open source research also revealed a tweet in which HUGHES, using his Twitter handle
(@RallyNate), was identified by one of his known associates. See Figure 16. This tweet, which
referenced events taking place in Washington, D.C., on January 4, 2021, included a photograph
appearing to have been taken inside of a hotel room. In the accompanying photograph, HUGHES
appears to be wearing the same hat that he wore during the events at the Capitol.




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                                     G. Michael    Digitally signed by
                                     Harvey        G. Michael Harvey
